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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIAN KEITH BARNES, #181 505,             )
                                          )
             Plaintiff,                   )
                                          )
       v.                                 )      CASE NO. 2:16-CV-760-WKW
                                          )                [WO]
SGT. THORNTON, in his individual          )
capacity,                                 )
                                          )
             Defendant.                   )

                                     ORDER

      Upon consideration of the parties’ latest status report (Doc. # 62), the parties

are ORDERED to file another joint status report on or before April 15, 2020. This

status report should, at a minimum, update the court on the status of discovery,

whether a settlement conference has been scheduled, whether the parties request an

extension of any of the suspended deadlines, and whether the parties seek a

continuance of the pretrial and trial dates. In light of the ongoing COVID-19

pandemic, it is further ORDERED that the parties may conduct their settlement

conference via telephonic communication, rather than face-to-face. The Uniform

Scheduling Order (Doc. # 47, ¶ 3) is AMENDED to reflect this change.

      DONE this 27th day of March, 2020.

                                                    /s/ W. Keith Watkins
                                              UNITED STATES DISTRICT JUDGE
